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                          UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

AHMED BAQER, KLABERT JOSEPH               *     NO. 2020-CV-980
GUILLOT, JR., and KLABERT JOSEPH          *
GUILLOT, SR.                              *
                  Plaintiffs              *     JUDGE PAPILLION
VERSUS                                    *
                                          *
ST. TAMMANY PARISH GOVERNMENT,            *     MAGISTRATE CURRAULT
a/k/a ST. TAMMANY PARISH COUNCIL,         *
ST. TAMMANY PARISH SHERIFF’S              *
OFFICE, RANDY SMITH, in his official      *     JURY DEMAND
and individual capacity, RODNEY J.        *
STRAIN, in his official and individual    *
capacity, GREG LONGINO, in his official   *     COMBINED WITH Louviere v.
and individual capacity, and LACEY        *     St. Tammany Parish Government
KELLY, in her official and individual     *     No. 2:20-cv-01840-WBV-DPC
and individual capacity, and LACEY        *
KELLY, in her official and individual     *
capacity                                  *     ALL CASES
                     Defendants           *
******************************************************************************


               DEFENDANTS’ MEMORANDUM IN OPPOSITION TO
                 PLAINTIFFS’ MOTION TO STRIKE EXHIBIT TO
              DEFENDANTS’ REPLY MEMORANDUM IN SUPPORT OF
                     MOTION FOR SUMMARY JUDGMENT


MAY IT PLEASE THE COURT:

       NOW COME Defendants, St. Tammany Parish Sheriff Randy Smith and Lacey Kelly,

who respectfully request that this Honorable Court deny Plaintiffs’ Motion to Strike Exhibit to

Defendants’ Reply Memorandum in Support of Motion for Summary Judgment (R. Doc. 331).

For the reasons set forth more fully below, Plaintiffs’ motion is without merit and should be

denied by this Honorable Court.




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    1. Factual Background

         On August 10, 2023, Defendants filed their Motions for Summary as to the claims of

Ahmed Baqer, Klabert Joseph Guillot, Sr., Terry Matthew Hall, Jr., Floyd Williams and Kevin

Louviere.1 On September 27, 2023, Plaintiffs filed their Memorandums in Opposition to

Defendants’ Motions for Summary Judgment.2 In their oppositions, Plaintiffs falsely argued that

Defendants have never asserted, “…and there is no evidence to support, that the DOC or federal

housing contracts disallow local inmates from being intermingled in the housing units.” 3

         On October 24, 2023, Defendants filed their Reply Memorandums in Support of Motions

for Summary Judgment, wherein Defendants again reiterated that the St. Tammany Parish Jail

(“STPJ”) is under contract with various authorities to house both State and Federal inmates, and

that under the terms of these contracts, beds within certain areas of the STPJ are specifically

reserved for these agencies.4 Defendants additionally attached a copy of one of these contracts

between the STPJ and the United States Marshal’s Service to their Reply Memorandums. 5

Plaintiffs now seek to have this exhibit excluded by falsely claiming that Defendants are

presenting a ‘new argument,’ and further asserting that this is the first time they have ever been

put on notice that such contracts exist. However, for the reasons provided more fully below,

Plaintiffs’ Motion to Strike Defendants’ Exhibit in Support of Motion for Summary Judgment

should be denied.




1
  See R. Docs. 234, 235, 236, 238 and 239.
2
  See R. Docs. 292, 293, 294, 295 and 296.
3
  See R. Doc. 292, pg. 20; R. Doc. 293, pg. 19; R. Doc. 294, pg. 19; R. Doc. 295, pg. 20; R. Doc. 296, pg. 21.
4
  See R. Doc. 326-2; R. Doc. 327-2; R. Doc. 328-2; R. Doc. 329-2; R. Doc. 330-2.
5
  See R. Doc. 326-3; R. Doc. 327-3; R. Doc. 328-3; R. Doc. 329-3; R. Doc. 330-3.

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    2. Despite Ample Notice of the Contracts, Plaintiffs Never Sought its Production in
       Discovery

        a. Plaintiffs’ Failure to Conduct Discovery Despite Knowledge of the Existence of
           Contracts

        This matter has been pending before this Court for over three and a half (3 ½) years,

since Plaintiffs originally filed suit on March 22, 2020. 6 Over the course of these 3 ½ years,

Plaintiff have only conducted discovery on two occasions, June 24, 2020, 7 and June 2, 2023.8 As

provided by Plaintiffs’ discovery requests, Plaintiffs never requested that Defendants produce

any contracts pertaining to the holding of any state and/or federal inmates. In light of their own

failure, Plaintiffs now attempt to mislead the Court by claiming that Defendants have

purposefully withheld the existence of these contracts, going as far as to falsely claim that this is

the first time their existence was ever disclosed to Plaintiffs. 9 However, as provided in

Defendants’ October 25, 2023, correspondence to Plaintiffs’ counsel, Defendants have

continually informed Plaintiffs of the existence of contracts between the STPJ and various

state/federal authorities.10 Defendants additionally note that since Plaintiffs began deposing

witnesses of the STPJ in this matter in January 18, 2023, that every single individual whom

Plaintiffs have deposed have provided uncontradicted testimony regarding the existence of these

contracts.11 Defendants further note that Plaintiffs, themselves, have each recognized that it is an

undisputed fact that testimony regarding the existence of these contracts has been provided. 12


6
  See R. Doc. 1.
7
  See R. Doc. 68-3.
8
  See Plaintiffs’ Request for the Production of Documents, attached herein as Exhibit “1.”
9
  See R. Doc. 331-3, pgs. 2 – 3; pg. 4.
10
   See Correspondence from counsel for Defendants to Plaintiffs’ counsel, attached herein as Exhibit “2.”
11
   See pgs. 52 – 60, 73 – 74, 85 – 87, 91 – 101 of the Deposition Testimony of Major Richard O’Keefe, attached
herein as Exhibit “3”; See pgs. 21 – 29, 37 – 41, 154 – 155, 159 of the Deposition testimony of Gregory Longino,
attached herein as Exhibit “4”; See R. Doc. 234-8, 30(b)(6) Deposition Testimony of Lacey Kelly, pgs. 48 – 51, 80,
107 – 108, 161 – 165; See R. Doc. 234-11, Deposition Testimony of Sheriff Smith, pgs. 12 – 18, 24 – 28, 37 – 38,
86 – 91, 119; See R. Doc. 234-9, Affidavit of Deputy Chief Bret Ibert; See R. Doc. 234-10, Affidavit of Sheriff
Randy Smith.
12
   See R. Doc. 292-2, ¶¶ 63 – 70; R. Doc. 293-2, ¶¶ 63 – 70; R. Doc. 294-2, ¶¶ 63 – 70; R. Doc. 295-2, ¶¶ 63 – 70;
R. Doc. 296-2, ¶¶ 63 – 70.

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         Defendants additionally note that the Department of Justice (“DOJ”) Civil Rights

investigation report dated July 12, 2012, that was produced in response to a 2011 investigation,

which Plaintiffs continually cite, notes that “St. Tammany also serves as overflow for the

Louisiana Department of Corrections (“DOC”) and the federal prison system.” 13 Defendants

further note that Plaintiffs have been in possession of this letter since at least April 3, 2020,

when they attached it as an exhibit to their Motion for Preliminary Injunction. 14 Further, the

articles cited by Plaintiffs in support of their Motion for Preliminary Injunction, and which

Plaintiffs have requested that this Honorable Court include as evidence in the trial of this matter,

themselves provide that the STPJ houses DOC and Federal Bureau of Prisons (“FBP”) inmates. 15

Accordingly, Plaintiffs have known since at least April 3, 2020, that the STPJ houses inmates

from DOC and other federal authorities.

         Further, the expert report of Leonard Vare, which Plaintiffs received on May 31, 2023, 16

provides an excerpt of one STPJ contract with the United States Department of Justice (“DOJ”)

and United States Marshals Service (“Marshals Service”), as well as a link to a complete copy of

this publicly available contract, which Mr. Vare obtained from researching public websites.17




13
   See R. Doc. 292-8, pgs. 3 – 4; R. Doc. 293-11, pgs. 3 – 4; R. Doc. 294-9, pgs. 3 – 4; R. Doc. 295-7, pgs. 3 – 4; R.
Doc. 296-7, pgs. 3 – 4.
14
   See R. Doc. 12-3.
15
   See R. Doc. 12-1, pg. 5. (https://www.fox8live.com/2020/03/06/zurik-jail-numbers-show-crowded-holding-cells-
are-isolated-st-tammany-jail/);       (https://www.fox8live.com/2020/02/27/zurik-st-tammany-jail-keeping-inmates-
holding-cells-weeks-violating-states-minimum-jail-standards/).
16
   See R. Doc. 306-1.
17
   See R. Doc. 234-7, pg. 18. (Link: https://www.usmarshals.gov/sites/default/files/media/document/IGA-Louisiana-
St-Tammany-Parish-Jail.pdf).

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                                                                                            18


        Defendants further note that the above agreement is public record and can easily be

obtained by a basic Google Search of “St. Tammany Parish Jail Contracts,” where this contract

appears as the first search result.19 While the twenty (20) year term of this contract expired in

2017, and was subsequently re-entered into,20 the terms of this contract contain a bedspace

guarantee, specifically stating that the STPJ is to provide sixty-five (65) bedspaces for federal

prisoners in United States Marshal’s Service custody each day. 21

        Accordingly, as clearly provided above, Plaintiffs have had notice since at least April 3,

2020, that DOC and federal inmates are housed at the STPJ. Plaintiffs have additionally had

notice of the existence of STPJ contracts with DOC and other federal authorities since at least

18
   Id.
19
   See IGA-Louisiana-St-Tammany-Parish-Jail.pdf.
20
   See R. Doc. 335-1; R. Doc. 336-1; R. Doc. 337-1; R. Doc. 338-1; R. Doc. 339-1.
21
   See IGA-Louisiana-St-Tammany-Parish-Jail.pdf, pg. 4 of 11.

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January 18, 2023, have discussed them at length with each deponent during their deposition,

have recognized that it is an undisputed fact that testimony regarding the existence of these

contracts has been provided, and have been in possession of both an excerpt of one of these

contracts, as well as a link to publicly available documentation regarding these contracts since

May 31, 2023.

         With regard to Plaintiffs’ complaint that Defendants did not provide a copy of this exhibit

during discovery, Defendants note that due to the fact that Plaintiffs’ claims relating to

overcrowding and not being provided a bed fail to allege a constitutional violation, 22 that prior to

Plaintiffs’ filing of their Memorandums in Opposition, Defendants had no reason to believe that

this contract was in dispute or that production of this contract would be necessary. However, in

response to Plaintiffs’ false claims within their Oppositions that Defendants had never asserted

and that there is no evidence to support that the DOC or federal housing contracts disallow local



22
  No Constitutional Violation for Overcrowding: See Rhodes v. Chapman, 452 U.S. 337, 347-50, 69 L. Ed. 2d
59, 101 S. Ct. 2392 (1981); Castillo v. Cameron County, Texas, 238 F.3d 339, 354 (5th Cir. 2001)("[A]lthough
overcrowding may give rise to unconstitutional conditions, overcrowding itself is not per se unconstitutional.") See
Collins v. Ainsworth, 382 F.3d 529, 540 (5th Cir. 2004); Chavera v. Allison, 2009 U.S. Dist. LEXIS 32177 (S.D.
Miss. 4/15/09); Crook v. McGee, 2008 U.S. Dist. LEXIS 122 (S.D. Miss. 2008); Robertson v. Coahoma County,
Miss., 2008 U.S. Dist. LEXIS 61160 (N.D. Miss. 2008); Kelly v. Gusman, 2007 U.S. Dist. LEXIS 99098 (E.D. La.
2007); Maddox v. Gusman, 2015 U.S. Dist. LEXIS 34318 (E.D. La. 2015); Williams v. Gusman, 2015 U.S. Dist.
LEXIS 139811 (E.D. La. 2015); See Order and Reasons (R. Doc. 40, pg. 31).

No Constitutional Violation for Not being Provided with a Bed/Mattress: Hill v. Smith, 2020 U.S. Dist. LEXIS
81559 (E.D. La. Apr. 2020) (eighteen days without a bed or mattress), adopted, 2020 U.S. Dist. LEXIS 80409 (E.D.
La., May 2020); Allen v. St. Tammany Parish, 2018 U.S. Dist. LEXIS 12254 (E.D. La., Jan. 2018) (fifteen days
without a mattress), adopted, 2018 U.S. Dist. LEXIS 11337 (E.D. La., Jan. 2018); McClay v. Gusman, 2012 U.S.
Dist. LEXIS 114131 (E.D. La. July 2012) (seventeen days without a mattress), adopted, 2012 U.S. Dist. LEXIS
114143 (E.D. La., Aug. 2012); Sykes v. Beilcham, 2011 U.S. Dist. LEXIS 86442, (N.D. Miss. June 2011)(sixteen
days without a mat), adopted, 2011 U.S. Dist. LEXIS 86357, (N.D. Miss. Aug. 2011); See Gaines v. McDonald, 577
Fed. App'x 335 (5th Cir. 2014) ("There is no authority holding that a prisoner has a constitutional right to sleep in an
elevated bed."); Mann v. Smith, 796 F.2d 79, 85 (5th Cir. 1986); accord Sanders v. Kingston, 53 Fed. App'x 781, 783
(7th Cir. 2002); Finfrock v. Jordan, 1996 U.S. App. LEXIS 32817 (7th Cir. Dec. 1996); Hamm v. DeKalb County,
774 F.2d 1567, 1575 (11th Cir. 1985); Williams v. Gusman, 2015 U.S. Dist. LEXIS 139805 (E.D. La. Oct. 2015);
Walcott v. Terrebonne Par. Consol. Gov't, 2017 U.S. Dist. LEXIS 204062 (E.D. La. Sept. 2017), adopted, 2017 U.S.
Dist. LEXIS 203742 (E.D. La., Dec. 12, 2017).


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inmates from being intermingled in the housing units, Defendants were forced to attach this

contract as an exhibit to their Reply Memorandum.

           b. Plaintiffs’ Attempt to Expand the Scope of Request No. 21 from their June 24,
              2020, Class Discovery Requests is without Merit

           Plaintiffs attempt to argue that they previously requested these contracts in their June 24,

2020, discovery requests. Request for Production No. 21 of Plaintiffs’ June 24, 2020, Class

Discovery Requests, requested that Defendants provide “Any and all documents, such as training

videos, tapes, bulletins, alerts, memorandums, seminars, policies and procedures, rules,

guidelines and/or training records relating to the transferring individual inmates or detainees

from holding cells into the general population.” 23




                                                                                                   24


           As clearly provided above, Plaintiffs’ Request for Production No. 21 never sought the

production of any contracts with third-party entities pertaining to the holding of any state and/or

federal inmates, but instead, sought information relating to training, policies and procedures for

the transferring of individual inmates or detainees from holding cells into general population.

Accordingly, Plaintiffs’ request has nothing to do with any contracts with third-party entities

pertaining to the holding of any state and/or federal inmates. Plaintiffs’ attempt to expand the

scope of this Request for Production from over three (3) years ago to now suddenly include

information not related to training, policies and procedures for transferring individual inmates or

detainees from holding cells into general population is therefore without merit.




23
     See R. Doc. 68-3.
24
     Id.

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        Defendants additionally note that since this matter has been pending, Defendants have

produced a substantial number of documents totaling in excess of fifteen thousand nine

hundred (15,900) pages. Defendants aver that any argument regarding this single document not

being produced during the production of this large amount of material is inconsequential,

especially considering the fact that Plaintiffs have been on notice that the STPJ houses U.S.

Marshals Services inmates pursuant to a contract since January 17 of 2023, 25 nearly eleven (11)

months prior to the filing of Defendants’ Reply Memorandum.

     3. DEFENDANTS’ EXHIBIT DOES NOT PRESENT A NEW ‘ISSUE’ OR
        ARGUMENT

        a. Defendants’ Exhibit does Not Present a ‘New Issue’

        Plaintiffs attempt to assert that Defendants’ exhibit should be excluded as it constitutes a

‘new issue’ brought before this Honorable Court is without merit. 26 In support of this argument,

Plaintiffs cite cases that are clearly distinguishable from the facts at issue herein. For example,

Plaintiffs cite Weems v. Hodnett, wherein the magistrate for the Western District of Louisiana

denied Plaintiff’s motion for leave to file a surreply, noting that Plaintiff failed to establish any

justification as to why leave should be granted. 27 Plaintiffs cite Jones v. Cain, a criminal case,

wherein the Fifth Circuit held that the state waived new arguments on appeal by failing to raise

them before the district court.28 Plaintiffs cite Jones v. Gusman, wherein the defendant filed a

thirty-one (31) page reply brief without seeking leave, attached 13 new exhibits and made

entirely new arguments for the first time, in an attempt to seize on the fact that Plaintiff would

not be allowed an opportunity to file a sur-reply.29 Plaintiffs additionally cite Armstrong v. Rite

Aid, wherein the Court held that the defendant’s four (4) new exhibits, attached to its Reply

25
   See R. Doc. 234-8, pg. 51, lines 3 – 12.
26
   See R. Doc. 331-3, pg. 5.
27
   Weems v. Hodnett, 2011 U.S. Dist. LEXIS 75172 (W.D. La. 2011).
28
   Jones v. Cain, 600 F.3d 527 (5th Cir. 2010).
29
   Jones v. Gusman, 515 F. Supp. 3d 520 (E.D. La. 2020).

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Memorandum, were unnecessary for the resolution of the defendant’s pending summary

judgment.30

        In this case, however, the facts are clearly distinguishable from the cases cited by

Plaintiffs, as Defendants’ exhibit does not present a new ‘issue’ or ‘argument’ for the first time

within their Reply Memorandum. Instead, Defendants’ Reply Memorandum and attached exhibit

specifically address Plaintiffs’ arguments, and do not present any new issues. 31 As the record

clearly provides, Defendants have continually asserted, and specifically argued within their

Motions for Summary Judgment, that:

                 “[T]he STPJ houses inmates from St. Tammany Parish, DOC and U.S.
                 Marshal prisoners and also serves as a hub for reentry for rehabilitative
                 services for seven parishes. The STPJ is under contract to take these DOC
                 and federal inmates, and they are housed in DOC and federal housing
                 units within the STPJ. Different parts of the STPJ are dedicated for the
                 different classifications of inmates from parish, DOC and federal. Beds
                 within the STPJ are specifically reserved for inmates by those categories.
                 Because of these contracts, if there is an open bed in DOC, a pretrial
                 detainee in the holding cell who is a parish detainee would not be moved
                 to that bed. Under no scenario will a parish detainee from a holding cell be
                 put in the federal housing unit when there is an available bed in that
                 federal housing unit. Therefore, even if there are open beds throughout
                 other parts of the STPJ that are dedicated under contract to DOC and/or
                 federal inmates, those parish detainees who are in the holding cell would
                 not be able to access those open beds as they are reserved under contract
                 to DOC and/or federal inmates.”32

        Despite being provided with the above-referenced facts supported by uncontradicted

testimony contained within Defendants’ Motions for Summary Judgment, Plaintiffs chose to

falsely claim that Defendants had never asserted and that there is no evidence to support that the

DOC or federal housing contracts disallow local inmates from being intermingled in the housing

30
   Armstrong v. Rite Aid, 2011 U.S. Dist. LEXIS 75996 (E.D. La. 2011).
31
   New issues brought in a reply brief need not be addressed by the court as “‘the scope of the reply brief must be
limited to addressing the arguments raised’” in the response. Petty v. Portofino Council of Coowners, Inc., 702 F.
Supp. 2d 721, 730, FN 3 (S.D. Tex. 2010) (quoting Staton Holdings, Inc. v. First Data Corp., 2005 WL 2219249,
2005 U.S. Dist. LEXIS 19743 (N.D.Tex. Sept. 9, 2005) (citing U.S. v. Feinberg, 89 F.3d 333, 340–341 (7th
Cir.1996))).
32
   See R. Doc. 234-3, pgs. 15 – 16; R. Doc. 235-3, pgs. 15 – 16; R. Doc. 236-3, pgs. 15 – 16; R. Doc. 238-3, pgs. 16
– 17; R. Doc. 239-3, pgs. 16 – 17. (emphasis added).

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units. In response, Defendants were left with no choice but to attach a copy of the contract

between the STPJ and the U.S. Marshal’s Service mentioned above, in order to further support

the uncontradicted testimony of Sheriff Randy Smith, Lacey Kelly, Richard O’Keefe and

Gregory Longino, as well as the sworn statements of Sheriff Randy Smith and Deputy Chief Bret

Ibert in this matter. Defendants’ exhibit does not present any new ‘issue’ or ‘argument,’ as it is

directly referenced and discussed in the same manner, and for the same reasons, within

Defendants’ Motions for Summary Judgment. Accordingly, Plaintiffs’ assertion that Defendants’

exhibit presents new issues and/or arguments is without merit.

        b. Defendants have Properly Sought Leave to File their Reply Memorandum

        The Eastern District, in Mays v. Bd. Of Comm’rs Port of New Orleans, previously denied

a plaintiff’s motion to strike the defendants’ reply memorandum, which attempted to introduce

nine (9) new exhibits into evidence, holding that the defendant had properly sought leave of

Court to file the Reply Memorandum, and that plaintiff had not presented any reason as to why

the Court should not grant defendants’ motion for leave. 33 Like the defendants in Mays,

Defendants in this matter properly sought, 34 and were granted35 leave of Court to file their Reply

Memorandums and attached exhibits in compliance with the local rules.

        c. Plaintiffs Can Be Provided an Opportunity to Respond

        The Fifth Circuit has long recognized that a district court may consider arguments and

evidence presented for the first time in a reply brief without abusing its discretion, “so long as it

gives ‘the non-movant an adequate opportunity to respond prior to a ruling.’” 36 While

Defendants’ exhibit clearly does not present a ‘new argument,’ and was specifically referenced


33
   Mays v. Bd. Of Comm’rs Port of New Orleans, 2015 U.S. Dist. LEXIS 194476 (E.D. La. 2015).
34
   See R. Doc. 326, R. Doc. 327, R. Doc. 328, R. Doc. 329, and R. Doc. 330.
35
   See R. Doc. 334.
36
   See Redhawk Holdings Corp. v. Schreiber, 836 Fed. Appx. 232 (5th Cir. 2020), citing Thompson v. Dall. City
Attorney's Office, 913 F.3d 464, 471 (5th Cir. 2019)(quoting Vais Arms, Inc. v. Vais, 383 F.3d 287, 292 (5th Cir.
2004))

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in Defendants’ Motions for Summary Judgment, this Honorable Court could provide Plaintiffs

an opportunity to respond to Defendants’ exhibit should it hold that such a response is warranted.

   4. CONCLUSION

       For the reasons stated herein, Defendants, St. Tammany Parish Sheriff Randy Smith and

Lacey Kelly, respectfully request that this Honorable Court issue an Order denying Plaintiffs’

Motion to Strike Defendants’ Exhibit to Reply Memorandum in Support of Motion for Summary

Judgment.

                                     Respectfully submitted,

                                     MILLING BENSON WOODWARD L.L.P.

                                     s/ Chadwick W. Collings_____________________
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                                     Counsel for Defendants



                                CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing was electronically filed with the Clerk of

Court of the United States District Court for the Eastern District of Louisiana on November 7,

2023, by using the CM/ECF system, which system will send a notice of electronic filing to

appearing parties in accordance with the procedures established.


                                     s/ Chadwick W. Collings
                                     Chadwick W. Collings




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